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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,
Plaintiff,
Vv

DOROTHY FINK, Acting Secretary of Health
and Human Services, et al.,

Case No. 1:24-cv-3188-RC

Defendants.

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DECLARATION OF MAUREEN TESTONI IN SUPPORT OF 340B
HEALTH, UMASS MEMORIAL MEDICAL CENTER, AND GENESIS
HEALTHCARE SYSTEM’S MOTION TO INTERVENE

I, Maureen Testoni, state as follows under the penalty of perjury:

f. I am the President and Chief Executive Officer of 340B Health, a Proposed Intervenor
in this action,

Ze The information set forth in this affidavit is based upon my personal knowledge.

3. 340B Health is a national, not-for-profit, membership organization headquartered in
Washington, D.C. that represents over 1,600 hospital members across the country. 340B Health’s
mission is to be the leading advocate on federal legislative and regulatory issues to help 340B
hospitals fulfill their mission to provide care for patients with low incomes and those living in

rural communities.
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4. 340B Health has been a plaintiff in several lawsuits related to the 340B Program,
including a suit in the District Court for the District of Columbia that sought to require the
Department of Health and Human Services (HHS) to issue regulations implementing
Congressionally established civil money penalties. American Hosp. Ass'n v. HHS, No. 1:18-cv-
2112. 340B Health was also a plaintiff in a suit in in the Northern District of California seeking
to require HHS to prohibit drug companies from refusing to sell drugs at 340B prices to hospitals
that contracted with community pharmacies to distribute their drugs. American Hosp. Ass’n v.
AAS, No. 4-20-cv-00805.

3: 340B Health has also filed amicus briefs in numerous cases across the country relating
to the 340B Program. 340B Health participated as one of several amici supporting the HHS in
six lawsuits filed by drug companies in an attempt to restrict the covered entities use of
community pharmacies to dispense drugs to 340B patients. 340B Health is currently
participating as an amicus supporting State Attorneys General in cases challenging state laws
designed to ensure that 340B hospitals may use community pharmacies to dispense drugs to

340B patients. To date, 340B health has joined twenty-four amicus briefs in those cases.
On this J G th day of January, 2025, I declare under penalty of perjury that the foregoing

Maureen Testoni
President and Chief Executive Officer
340B Health

is true and correct.

